CaSe 2:O4-cr-20422-SHL Document 32 Filed 05/19/05 Page 1 of 2 Page|D 28

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESS§E t|~’ 19 PH 51 ?.'i
wEsTERN DIvIsIoN “""

 

 

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04~20422-D

BRANDON WILLIAMS
Defendant.

V~_~ ~.._.-.._/~_4\__¢\-._»~_.»~_._,

 

0RDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on May 19, 2005, the United States
Attorney for this district, Leonard E. Lucas, appearing for the Government
and the defendant, Brandon Williams, appearing in person and With counsel,
K. Jayaraman, who represented the defendant.

With leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l and 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, SEPTEMBER 23, 2005, at
1:30 P.M., in Courtroom No. 3. on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

, '#
ENTERED this the ij day of May, 2005,

  

 

UNITED sTATEs DISTRIC'I' JUDGE

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'l'h'\s document entered on the docket sheet:§ cscng
with F\t\|a 55 and!or 3211)! FRCrP on _ __§__Q__.__

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 32 in
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K. Jayaraman

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Honorable Bernice Donald
US DISTRICT COURT

